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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-2(c)

  Joseph A. McCormick, Jr. (016221977)
  JOSEPH A. MCCORMICK, JR., P.A.
  76 Euclid Avenue, Suite 103
  Haddonfield, NJ 08033
  (856) 795-6500
  Attorney for Chapter 7 Trustee
  InRe:                                                         Case No.:    19-20529-JNP
                                                                Judge:       Jerrold N. Poslusny
  Najam U. Kazmi and Surayya N. Kazmi,                          Chapter:     7

                                        Debtors.




                  Recommended Local Form:                 •   Followed            LI   Modified



                    APPLICATION FOR RETENTION OF PROFESSIONAL
               AND CERTIFICATE OF COMPLIANCE WITH D.N.J. LBR 2014-1(a)
          1.      The applicant, Joseph Marchand. is the

                  •    Trustee:           •    Chap. 7          LI    Chap. 11           LI   Chap. 13.

                  LI   Debtor:            LI   Chap. 11          LI    Chap. 13          o    Interim
                                                                                              (§303g)
                  LI   Official Committee of
                                               --------------------

          2.      The applicant seeks to retain the following professional: Joseph A. McCormick,
                  Jr., Esquire of the firm of Joseph A. McCormick. Jr., P.A. to serve as:

                  • Attorney for:         • Trustee             LI    Debtor-in-Possession

                                          LI   Official Committee

                  LI   Accountant for: LI      Trustee           LI . Debtor-in-possession

                                          LI   Official Committee of
                                                                       --------------------
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            Ll Other Professional:

                                     Ll   Realtor   Ll    Appraiser Ll Special Counsel

                                     Ll   Auctioneer Ll    Other (specify):,_ _ _ _ _ _ __


       3.   The employment of the professional is necessary because:
            To assist the Trustee in the investigation of the Debtor's financial affairs, the
            safeguarding of assets that are property of the bankruptcy estate, the recovery of
            avoidances, and the recovery of assets that are property of the bankruptcy estate.


       4.   The professional has been selected because:


            Joseph A. McCormick Jr .. P.A. has had considerable experience in
            matters of this character and believes that they are well qualified to
            represent him as Trustee.


       5.   The professional services to be rendered are as follows:


       a)   To prepare on behalf of applicant as Trustee, necessary Petitions, Answers,
            Orders, Reports, and other legal papers;


       b)   To perform all other legal services for Trustee which may be necessary herein,
            and it is necessary for applicant, as Interim Trustee, to employ an attorney for
            such professional services.


       6.    The proposed arrangement for compensation is as follows:


             Under a general retainer, with fees to be set by further Order of the Court.


       7.    To the best of the applicant's knowledge, the professional's connection with the


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            debtor, creditors, any other party in interest, their respective attorneys and
            accountants, the United States trustee, or any person employed in the Office of the
            United States Trustee, is as follows:


            •    None


            o    Describe connection:
                                        ----------------------------------------


       8.   To the best of the applicant's knowledge, the professional (check all that apply):

            •    does not hold an adverse interest to the estate.

            •    does not represent an adverse interest to the estate .

            • ' is a disinterested person under 11 U.S.C. § 101(14).

            •    does not represent or hold any interest adverse to the debtor or the estate with
            respect to the matter for which he/she will be retained under 11 U.S.C. § 327(e).

            o    Other; explain:




            9.      If the professional is an auctioneer, appraiser or realtor, the location and
                    description of the property is as follows:




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        Wherefore, the applicant respectfully requests authorization to employ the professional to
 render services in accordance with this application, with compensation to be paid as an
 administrative expense in such amounts as the Court may hereafter determine and allow.




          r
 Date: ~ J,()   {I t'f

                                              Joseph Marchand
                                              Name of Applicant




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                 Najam U. Kazmi and Surayya N. Kazmi, Chapter 7 Debtor
                                 Case No. 19-20529-JNP
                                            Service List
                                                 of
                                   Joseph A. McCormick, Jr., P.A.
                                    76 Euclid Avenue, Suite 103
                                      Haddonfield, NJ 08033
                                        Attorneyfor Trustee

 Debtors                                             FEIN, SUCH, KAHN & SHEPARD, P.C.
 Najam U. Kazmi                                      Counsellors at Law
 1071 Venezia Avenue                                 7 Century Drive - Suite 201
 Vineland, NJ 08361                                  Parsippany, New Jersey 07054

 Surayya N. Kazmi                                    Amar A. Agrawal, Esquire
 1071 Venezia Avenue                                 Eisenberg, Gold, Cettei & Agrawal, P.C.
 Vineland, NJ 08361                                  1040 North Kings Highway, Suite 200
                                                     Cherry Hill, New Jersey 08034
 Attorney for Debtors
 Nathan Van Embden, Esq.                             Jerrold S. Kulback, Esquire
 Law Office of Nathan Van Embden                     Archer & Greiner, P.C.
 21 E. Main St.                                      Three Logan Square
 PO Box 428                                          1717 Arch Street, Suite 3500
 Millville, NJ 08332                                 Philadelphia, PA 19103

 Trustee
 Joseph Marchand
 117 119 West Broad St.
    p




 PO Box 298
 Bridgeton, NJ 08302

 U.S. Trustee's Office
 District of New Jersey
 One Newark Center, Suite 2100
 Newark, NJ 07102,

 Other
 Jenelle C. Arnold
 ALDRIDGE PITE, LLP
 4375 Jutland Drive, Suite 200
 P.O. Box 17933
 San Diego, CA 92177-0933

 McCalla Raymer Leibert Pierce, LLC
 485F US Highway 1 S, Suite 300
 Iselin, NJ 08830



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